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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 UNITED STATES OF AMERICA,                                    )
                                                              )
                                           Plaintiff,         )   12 CR 459-1
                                                              )
                            vs.                               )   Judge Gary Feinerman
                                                              )
 JOSEPH MARIO MORENO,                                         )
                                                              )
                                         Defendant.           )

                                             ORDER

        Defendant’s motion to reduce sentence [600] is denied without prejudice for the reasons
set forth below.

                                          STATEMENT

       Joseph Mario Moreno moves for a reduced sentence under 18 U.S.C. § 3582(c)(1)(A)(i),
as amended by the First Step Act of 2018, Pub. L. No. 115-391, 132 Stat. 5194. Doc. 600.
Moreno’s sole ground for relief turns on the risks he faces of contracting and suffering adverse
consequences from COVID-19 given his age (67 years old), his medical conditions, and the
inherent dangers posed by the pandemic to individuals in custody. Docs. 600, 603, 606.

        The motion is denied because Moreno does not argue, let alone demonstrate, that
extraordinary and compelling reasons warrant a reduced sentence under Application Notes 1(A)-
(C) of U.S.S.G. § 1B1.13, and because the court is not authorized to reduce his sentence on the
ground set forth in Application Note 1(D). See United States v. Rollins, 99 CR 771-1, 2020 WL
3077593 (N.D. Ill. June 10, 2020). Even if the court were authorized to reduce Moreno’s
sentence on that ground, it would not find that extraordinary and compelling reasons exist under
Note 1(D) given the substantial efforts the Bureau of Prisons has taken to address the risks posed
by the pandemic and the lack of any documented COVID-19 cases at Moreno’s facility, FPC
Duluth. See, e.g., United States v. Garcia, 2020 WL 2520923, at *1-2 (N.D. Ind. May 18, 2020)
(noting that “there are no reported cases of COVID-19 at F[PC] Duluth”); United States v. Gold,
2020 WL 2197839, at *2 (N.D. Ill. May 6, 2020).

        In the alternative, Moreno moves the court to recommend that Bureau release him to
home confinement under 18 U.S.C. § 3621(b)(4) and § 12003(b)(2) of the CARES Act. Doc.
600 at 1. The Bureau has considerable discretion to determine whether Moreno—given his age,
his medical conditions, the COVID-19 pandemic, and other pertinent factors—is an appropriate
candidate for release to home confinement. See 18 U.S.C. § 3624(c). In the court’s view, which




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is merely advisory, see United States v. Garza, 2020 WL 1485782, at *1 (S.D. Cal. Mar. 27,
2020), it would be appropriate for the Bureau to exercise its discretion in Moreno’s favor.



June 12, 2020                                      ___________________________________
                                                         United States District Judge




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